Case 2:03-cv-02599-BBD-dkv Document 61 Filed 05/23/05 Page 1 of 6 Page|D 92

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WADE SCOTT, JR.
Plaintiff, CaSe NO. 03-2599 D/V

VS.

REGIONAL MEDICAL CENTER

~_,~.,~..__,v~.¢~.._,..,»-._J~__/

Defendant

 

ORDER TAXING COSTS

 

Taxation of costs is governed by 28 U.S.C. § 1920, and the
costs taxable under this section “shall be allowed as of course to
the prevailing party unless the court otherwise directs” or unless
a statute or rule otherwise provides. Fed.R.Civ.P 54(d)(l).
Regional Medical Center, Defendant, was the prevailing party in
this cause. As such, Defendant did on April 18, 2005 file a cost
bill totaling $5,729.37 for process service fees, court reporter
fees and the cost of deposition transcriptions, witness fees and
copy costs.

Notice was given to permit these parties opportunity to be
heard at a taxation hearing scheduled in Memphis, TN, on Friday,
May 13, 2005 at 9:30 a.m. regarding the assessment of costs
pursuant to Local Rule 54.l(b).

As a result of Defendant's claim and based on matters
reflected in the file, costs are taxed against Plaintiff and in

favor of Defendant as follows:

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Case 2:03-cv-02599-BBD-dkv Document 61 Filed 05/23/05 Page 2 of 6 Page|D 93

 

CLAIM AWARD

Process service fees $1,260.00 $1,260.00
Deposition costs $3,106.05 $3,081.05
Copy/printing costs $1,242.32 $ 116.22
Witness fees §4,120.00 $ 120.00
TOTAL $5,729.37 $4,577.27

Fees for Service of Summons and Subpoena:

Pursuant to 28 U.S.C. §1921, the prevailing party is entitled
to recover the sum paid to a pmivate process server to serve
subpoenas, as long as the amount charged does not exceed that which
would be charged by the United States Marshal. Arrambide v. Wal-
Mart Stores, Inc., 33 Fed.Appx. 199, No. 00-6272, 2002 WL 531137,
**(6” Cir. April 4, 2002). Under l92l(b), the Attorney General is
permitted to prescribe by regulation the fees which.will be charged
by the Marshal’s Service to serve subpoenas and other process.
Those regulations currently' provide the United States Marshal
Service charges $45.00 per hour to serve subpoenas. §e§ 28 C.F.R.
§O.lls.

Deposition fees:

Title 28, Sections 1920{2) and {4) declare that the cost of
taking and transcribing depositions and transcripts, and the cost
of purchasing copies of depositions may be taxed if the depositions
were “necessarily obtained for use in the case.” Thus, if the
depositions are “reasonably necessary to the prosecution of the

action," and not "merely useful for discovery," the costs are

Case 2:03-cv-O2599-BBD-dkv Document 61 Filed 05/23/05 Page 3 of 6 Page|D 94

appropriately taxed. Ramos v. Lamm, 713 F.2d 546, 560 (10th Cir.
1983); Sales v. Marshall, 873 F.2d 115, 120 (6thCir. 1989);
Independent Iron Works, Inc. v. U.S. Steel Corp., C.A. Cal. 1963,
322 F.2d 656, certiorari denied 84 S. Ct. 267, 375 U.S. 922.

A deposition does not have to be used as evidence to be taxed
as an expense. “When a deposition is not actually used at trial or
as evidence on some successful preliminary motion, whether its cost
may be taxed generally is determined by deciding if the deposition
reasonably seemed necessary at the time it was taken.” 10 Charles
Allen Wright et al, Federal Practice and Procedure: Civil 2d §2676,
at 341(2d ed. 1983); see also §alg§, 873 F.2D at 120 (“Necessity is
determined as of the time of taking, and the fact that a deposition
is not actually used at trial is not controlling."), and Shanklin
v. Norfolk Southern Railway Co., No. 94-1212 (W.D. Tenn. Sept. 9,
1996) relying on Hudson v. Nabisco Brands, Inc., 758 F.2d 1237,
1243 (7th Cir. 1985}; In re Air Crash Disaster, 687 F.2d 626, 631
(2d Cir. 1982).

The determination of necessity must be made in light of the
facts known at the time of the deposition, without regard. to
intervening developments that later render the deposition unneeded
for further use. _§e Wright et al., supra, §2676, at 341-44; ZQLQ§
v. tindberqh sch. Dist., 121 F.3d 356, 363 (8¢“ Cir. 1997).

ln support of this tax claim, Defendant's bill includes copies
of the court reporters’ invoices detailing reporter fees and

deposition. transcript charges incurred. Defendant’s claim is

Case 2:03-cv-O2599-BBD-dkv Document 61 Filed 05/23/05 Page 4 of 6 Page|D 95

allowed, save for the administrative cost (courier fee) charged
which is classified as a business cost, borne for convenience of
counsel, and is therefore not taxable. The administrative cost has
been culled from the award.

Copy fees:

Where records or papers are copied by counsel for prevailing
party in preparation for trial, their costs may be recovered, even
though no trial is actually held, pursuant to 28 U.S.C. § 1920(4),
which provides that fees for exemplification and copies of papers
necessarily obtained for use in case, may be taxed as costs.
Meadows v. Ford Motor Co. {1973, WD Ky) 62 FRD 98, 5 BNA FEP Cas
665, on remand (WD Ky) 11 BNA FEP Cas 1047 and cert den 425 US 998,
48 L, Ed 2d 823, 96 S Ct 2215, 12 BNA FEP Cas 1335.

Defendant's reimbursement claim of copy costs ($140.00) for
medical records procured is granted. The balance of the copy cost
request is denied due to insufficiency of the record to demonstrate
these costs as reasonably necessary to the case and not for the
convenience of counsel or the routine costs of doing business.
While the requested reimbursement ostensibly represents the costs
of photocopies made during the course of litigation, the general
summarization provided, “2/9/2005 Photocopy-1278 pages,” provides
insufficient detail about what was copied or how these copies were

used, denying Plaintiff the opportunity to protest the award.

Case 2:03-cv-O2599-BBD-dkv Document 61 Filed 05/23/05 Page 5 of 6 Page|D 96

Taxable copy costs permitted under 28 U.S.C. § 1920
contemplate copies reasonably necessarily for use in the case, but
not for the convenience of attorneys. Independence Tube Corp. v.
Copperweld Corp.,D.C.Ill.1982, 543 F.Supp. 706. Defendant is
reimbursed the cost of the medical records. The balance of the
copying of papers is essentially undocumented in this cost bill,
and is therefore disallowed. Zapata Gulf Marine Corp. V. Puerto

Rico Maritime ShiDDing Authoritv, E. D. La. 1990, 133 F.R.D. 481.

TOTAL AWARD §4¢577.27

Pursuant to Fed.R.Civ.P. Rule 54(d), the taxation of costs by
the Clerk may be reviewed by the court upon motion, served within

5 days of the docketing of this order.

    

 

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ROBERT R. DI OLIO, CLERK

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:03-CV-02599 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

